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                                                                                   2021 Jun-25 AM 10:09
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                              MIDDLE DIVISION

  JOSHUA OTWELL
  and DANNA LEE OTWELL,
                                                    Case No. 4:19-cv-01120-ACA
    Plaintiffs,

  vs.

  HOME POINT FINANCIAL CORP.,

    Defendant.


                                 PRETRIAL ORDER

        A pretrial scheduling conference was held in the above case on June 24, 2021,

wherein, or as a result of which, the following proceedings were held and actions

were taken:

        1. Appearances. Appearing at the conference were:

           For Plaintiffs, Joshua and Danna Lee Otwell: John G. Watts and M. Stan
           Herring of the Law Firm of Watts & Herring, LLC.

           For Defendant, Home Point Financial Corp.: Timothy P. Pittman and
           Bret Chaness of the Law Firm of Rubin Lublin, LLC.


        2. Nature of the Action, Jurisdiction and Venue.

              (a) The nature of this action is as follows: Claims for violations of the

                  Real Estate Settlement Procedures Act (“RESPA”), 12 U.S.C.
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                  § 2605 and for violations of the Fair Debt Collections Practices Act

                  (“FDCPA”), 15 U.S.C. § 1692 et seq.

             (b) The court has subject matter jurisdiction of this action under the

                  following statutes, rules or cases: Federal subject matter jurisdiction

                  arises under 15 U.S.C. § 1692k(d). Venue is proper under 28 U.S.C.

                  § 1391(b)(2).

             (c) All jurisdictional and procedural requirements prerequisite to

                  maintaining this action have been met.

             (d) Personal jurisdiction and/or venue are not contested.

     3. Parties and Trial Counsel. Any remaining fictitious parties are hereby

          STRICKEN. The parties and designated trial counsel are correctly

          named as set out below:

                                          Parties                 Trial Counsel:
   Plaintiffs                     Joshua Otwell              John G. Watts
                                                             M. Stan Herring
                                  Danna Lee Otwell           John G. Watts
                                                             M. Stan Herring
   Defendant                      Home Point Financial       Timothy P. Pittman
                                  Corp.                      Bret Chaness


     4.         Pleadings. The following pleadings have been allowed: Complaint and

Amended Complaint by Plaintiffs and Answer and Affirmative Defenses by

Defendant.




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      5. Statement of the Case.

           (a) Narrative Statement of the Case.

      This case concerns claims by Joshua and Danna Lee Otwell that Home Point

violated the Real Estate Settlement Procedures Act (“RESPA), 12 U.S.C. § 2605

(“Count One”) and the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C.

§ 1692 et seq. while servicing Plaintiffs’ home loan.

      More specifically, the Otwells sought help from Home Point and began

making “trial payments” to show they were entitled to a permanent loan

modification. The Otwells allege Home Point failed to properly consider them for

available loss mitigation options, failed to properly explain to the Otwells the reason

they were denied a modification, failed to explain the deadlines and appeal options

for accepting what Home Point considers to be a loss mitigation offer and all of this

led to an attemped foreclosure by Home Point to take the home of the Otwells.

      Otwells also allege that this same conduct and other actions and

representations by Home Point violated the FDCPA. The Otwells claim they were

damaged by the actions of Home Point.

      Home Point denies the Otwells’ claims.

           (b) Undisputed Facts.

      1.      On January 28, 2015, Joshua Otwell obtained a mortgage loan in the

original principal amount of $235,554.00 from Southpoint Bank (the “Loan”). As



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evidence of the Loan, Joshua Otwell executed a promissory note in favor of

Southpoint Bank (the “Note”).

      2.     Danna Lee Otwell did not sign the Note and is not personally liable on

the Note.

      3.     To secure repayment of the Loan and Note, Joshua Otwell and Danna

Lee Otwell executed a mortgage (the “Mortgage”) for the property located at 525

Fern Creek Drive, Springville, Alabama 35146 (the “Property”).

      4.     Joshua Otwell fell behind on his mortgage payments in February 2016.

      5.     On August 11, 2016, the Mortgage was assigned to Stonegate Mortgage

Corporation (“Stonegate”).

      6.     Southpoint Bank endorsed the Note in favor of Stonegate.

      7.     Stonegate held a foreclosure sale on the Otwells’ property on January

17, 2017. Stonegate was the high bidder at the foreclosure sale.

      8.     On May 31, 2017, Home Point acquired Stonegate.

      9.     On May 31, 2017, Stonegate filed a “Foreign Corporation (Business or

Non-Profit) Certificate of Withdrawal” with the Alabama Secretary of State and

stated in the filing that Stonegate was “no longer transacting business in Alabama.”

      10.    Thereafter, the Loan, Note, and Mortgage were held by Home Point.




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        11.   On June 30, 2017, Stonegate filed an ejectment action against the

Otwells in Alabama state court to remove them from the Property (the “Ejectment

Suit”).

        12.   The Ejectment Suit was settled whereby it was agreed that the

foreclosure sale would be rescinded and the Otwells would be offered a loan

modification. Stonegate voluntarily dismissed the Ejectment Suit on September 17,

2018.

        13.   With respect to the loan modification portion of the settlement, Home

Point sent Joshua Otwell a letter on August 24, 2018, advising him that he “may be

eligible for a FHA Partial Claim” which “is designed for borrowers, like you, who

are unable to reinstate your loan or bring it current through a repayment plan.” The

letter offered a “Trial Period Plan” that required Joshua Otwell to timely make three

trial payments in order to qualify for an FHA Partial Claim (the “Trial Period Plan”).

        14.   Joshua Otwell accepted the Trial Period Plan on September 14, 2018,

and timely made the three required trial payments.

        15.   The parties dispute the details about an alleged final loan modification

offer sent by Home Point, but no final loan modification documents were executed.

        16.   On February 21, 2019, Home Point sent the Otwells a notice declaring

the Loan to be in default. The notice stated, in part, that a total amount of $60,225.29

was due.



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      17.      The default was not cured, and a foreclosure sale was scheduled for

June 13, 2019.

      18.      Notice of the foreclosure sale was published in the St. Clair News-

Aegis.

      19.      The foreclosure sale was cancelled and has not taken place.

            (c) Plaintiffs’ Position on Their Claims.

      The Otwells have made claims against Home Point for its alleged conduct in

connection with servicing and collection activities related to a Plaintiffs’ home

mortgage loan.      The applicable principles of law fall under the Real Estate

Settlement Procedures Act (“RESPA”), 12 U.S.C. § 2605 and the Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq. and set out more

specifically below.

                                 RESPA Violations:

         While RESPA does not require “a servicer to provide any borrower with any

specific loss mitigation option” under 12 C.F.R. § 1024.41(a), it does require a

servicer who has made a loss mitigation determination to “[p]rovide the borrower

with a notice in writing stating the servicer’s determination of which loss mitigation

options, if any, it will offer to the borrower.” 12 C.F.R. § 1024.41(c)(1)(ii). If the

servicer makes a loss mitigation offer, the notice must include a deadline for




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accepting or rejecting the offer as well as information about the borrower’s appeal

rights.

          Home Point violated RESPA by failing to fairly evaluate Plaintiffs’ loss

mitigation application and by failing to communicate the results and real reason for

denial of modification. Home Point further violated RESPA by providing a new

promissory note and partial claim mortgage to the Otwells without any explanation

that it was a loan modification offer, how long the Otwells had to accept it, or their

right to appeal.

  Damages: Plaintiffs intend to prove pecuniary and emotional distress damages.

                                FDCPA Violations:

  Plaintiff makes claims for violations of the following sections of the Act.


  15 USC § 1692c(a)(2): “(a) Communication with the consumer … Without the
  prior consent of the consumer given directly to the debt collector or the express
  permission of a court of competent jurisdiction, a debt collector may not
  communicate with a consumer in connection with the collection of any debt-- (2)
  if the debt collector knows the consumer is represented by an attorney with
  respect to such debt and has knowledge of, or can readily ascertain, such
  attorney's name and address, unless the attorney fails to respond within a
  reasonable period of time to a communication from the debt collector or unless
  the attorney consents to direct communication with the consumer.”

  Supporting Facts: In March 2019, Home Point was notified that the Otwell
  consumers were represented by counsel but Home Point wrote directly to the
  Otwells. After the Otwells filed suit, Home Point continued to write them directly
  demanding payment even while Home Point’s lawyers communicated with the
  Otwells’ counsel.




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15 USC § 1692d: “A debt collector may not engage in any conduct the natural
consequence of which is to harass, oppress, or abuse any person in connection
with the collection of a debt.”

Supporting Facts: Threatening to foreclose when there is no right to do so is
harassing as well as the evasive and contradictory information sent by the debt
collector Home Point. To threaten foreclosure without a right to, and while the
Otwells were paying the trial payment plans is harassing. For Home Point to
claim that it did so because of a secret, undisclosed deadline to sign a confusing
alleged loan modification is further harassment. There is no other natural
consequence to treating consumers like this, especially related to a home which
is the largest purchase/investment that consumers will ever make.


15 USC § 1692d(3): “(3) The publication of a list of consumers who allegedly
refuse to pay debts, except to a consumer reporting agency or to persons meeting
the requirements of section 1681a(f) or 1681b(3) of this title.”

Supporting Facts: Home Point advertised in a public newspaper that the Otwells
had refused to pay their debt (home mortgage loan) and would be foreclosed.
This is much worse than a local business keeping a list of people not to take
checks from – instead this is a public advertisement to everyone in the county
where the Otwells live that they are not paying their debt and will lose their home.
And, to make this even more harassing, there was no basis to put this public
advertisement out there as Home Point had bungled the loan modification process
and not taken the steps needed to be able to claim the Otwells were in default.



15 USC § 1692e: This is the general section that is illustrated by examples. “A
debt collector may not use any false, deceptive, or misleading representation or
means in connection with the collection of any debt. Without limiting the general
application of the foregoing, the following conduct is a violation of this
section . . . .”

Supporting Facts: Home Point made numerous misrepresentations as shown
below (which are incorporated) and illustrated by a few examples.

Home Point is not allowed to threaten to do something it has no intention of doing
or no legal basis to do. Otwells expect to prove that Home Point failed to send


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the proper default letter and was thus not authorized under law or the mortgage
to accelerate the loan.

The sequence in a foreclosure which must be strictly followed is:

   •    Default letter
   •    Then an acceleration letter
   •    Then the advertisement in newspaper
   •    And finally the actual public auction.

The Otwells will also show that no acceleration occurred of the mortgage debt.
Without acceleration, there could be no threatened foreclosure as there was no
legal right to foreclose. Thus, Home Point could not foreclose nor advertise a
foreclosure sale. As a result, under the FDCPA Home Point could not threaten to
foreclose.

Another example is not marking Otwell’s credit reports as disputed as required
by Section 1692e(8).

The April 15 and June 7 letters seek to minimize the warning of Section
1692e(11) by suggesting that the FDCPA does not even apply.

The other 1692e violations come from the misrepresentations in the April 15
validation letter and in the response to Otwells’ request for verification (June 7,
2019).


15 USC § 1692e(2): “(2) The false representation of—(A) the character, amount,
or legal status of any debt; or (B) any services rendered or compensation which
may be lawfully received by any debt collector for the collection of a debt.”

Supporting Facts: Home Point’s debt collection letters to the Otwells, specifically
including the letter dated February 21, 2019, stated multiple amounts to cure as
compared to the February 19, 2019 letter, and also identified two different dates
for the oldest payment owed.

15 USC § 1692e(4): “(4) The representation or implication that nonpayment of
any debt will result in the arrest or imprisonment of any person or the seizure,
garnishment, attachment, or sale of any property or wages of any person unless



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such action is lawful and the debt collector or creditor intends to take such
action.”

Supporting Facts: Home Point is not allowed to threaten to do something it has
no intention of doing or no legal basis to do. The Otwells expect to prove that
Home Point failed to send the proper default letters and was thus not authorized
under law or the mortgage to accelerate the loan. Thus, Home Point could not
foreclose nor advertise a foreclosure sale. Under clear precedential Alabama law,
Home Point could not threaten to foreclose. Home Point’s threats to foreclose
constituted a threat of something it had no intention of doing or no legal basis to
do so. Home Point may testify that it intended to foreclose even though it knew
it was illegal. Or it may testify that it was simply lying to the Otwells about
foreclosing.

Either way, it is a violation of Section 1692e(4) and/or Section 1692e(5).

15 USC § 1692e(5): “(5) The threat to take any action that cannot legally be taken
or that is not intended to be taken.”

Supporting Facts: See above on Section 1692e(4) as these sections work together
in this case.

15 USC § 1692e(8): “(8) Communicating or threatening to communicate to any
person credit information which is known or which should be known to be false,
including the failure to communicate that a disputed debt is disputed.”

Supporting Facts: Plaintiffs intend to show that they disputed the debt with Home
Point. Consequently, Home Point should have updated Plaintiff's credit file to
show that the debt was disputed. Yet, Plaintiff's credit reports do not show the
debt as disputed.

15 USC § 1692e(10): “(10) The use of any false representation or deceptive
means to collect or attempt to collect any debt or to obtain information
concerning a consumer.”

Supporting Facts: All the reasons listed above also show the deception.


15 USC § 1692f: “A debt collector may not use unfair or unconscionable means
to collect or attempt to collect any debt.”


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Supporting Facts: Without the legal ability under the law and contract to
foreclose, the threat to and actual advertising of the foreclosure sale date in a
public newspaper violate Section 1692f and its example illustration of Section
1692f(6) as discussed next.


15 USC § 1692f(6): “A debt collector may not use unfair or unconscionable
means to collect or attempt to collect any debt. Without limiting the general
application of the foregoing, the following conduct is a violation of this section
. . . (6) Taking or threatening to take any nonjudicial action to effect
dispossession or disablement of property if—(A) there is no present right to
possession of the property claimed as collateral through an enforceable security
interest; (B) there is no present intention to take possession of the property; or
(C) the property is exempt by law from such dispossession or disablement.”

Supporting Facts: Home Point certainly threatened to take non judicial action
(foreclosure) to take ownership and possession of the home of the Otwells. But
there was no present right to do so as Home Point had failed to follow the proper
steps to have the legal right to foreclose.

Home Point failed to send a proper default letter. Which meant there could be
no acceleration letter (and Home Point sent no such letter anyway). Without a
proper default letter (and then a proper acceleration letter), no foreclosure
advertisement in the local newspaper could occur.

The testimony of Home Point at trial will be interesting to see if it intended to
take the property (without the present right to do so) or if it had no intention
(but lied about the intention)—either story by Home Point will violate Sections
1692f and the illustration Section 1692f(6).

15 USC § 1692g: This section states:

(a) Notice of debt; contents

    Within five days after the initial communication with a consumer in
connection with the collection of any debt, a debt collector shall, unless the
following information is contained in the initial communication or the consumer
has paid the debt, send the consumer a written notice containing--
    (1) the amount of the debt;


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       (2) the name of the creditor to whom the debt is owed;
       (3) a statement that unless the consumer, within thirty days after receipt of the
   notice, disputes the validity of the debt, or any portion thereof, the debt will be
   assumed to be valid by the debt collector;
       (4) a statement that if the consumer notifies the debt collector in writing within
   the thirty-day period that the debt, or any portion thereof, is disputed, the debt
   collector will obtain verification of the debt or a copy of a judgment against the
   consumer and a copy of such verification or judgment will be mailed to the
   consumer by the debt collector; and
       (5) a statement that, upon the consumer's written request within the thirty-day
   period, the debt collector will provide the consumer with the name and address
   of the original creditor, if different from the current creditor.

Supporting Facts: Defendant Home Point sent a letter to Plaintiffs on April 15, 2019,
which suggested that the FDCPA might not be applicable to the letter. Such a
representation is false as the FDCPA does apply to letters seeking to foreclose on
property when there is no present right to foreclose and also applies when money is
being demanded as this letter demanded.

The letter provides the required disclosure under 15 U.S.C. § 1692g(a) known as a
validation notice and gives the consumer enhanced rights if a dispute is sent within
30 days of receipt of the validation notice. But the warnings are overshadowed or
contradicted by the letter from Defendant Home Point (by and through its agent
Rubin Lublin) which violates 15 U.S.C. § 1692g(b) as follows:
      a. Suggesting repeatedly (at least in four places) that the FDCPA does
      not or may not apply which would mean the 15 U.S.C. § 1692g(a) rights
      are not in place for Plaintiffs
      b. The notice also suggests that collection activity can occur before the
      expiration of the 30-day period that Plaintiffs had the right to dispute
      but it fails to say that if a dispute is made, then those collection activities
      must cease until the debt has been validated.
This could confuse the least sophisticated consumer about their rights under 15
U.S.C. § 1692g(a) and what actions, if any, they should take.

Defendant Home Point also violated 15 U.S.C. § 1692g in its inadequate verification
in response to Plaintiffs’ properly timed and described dispute letter requesting
verification. Defendant Home Point gave Plaintiff the right to dispute and ask for
verification in its (defective) April 15, 2019 letter. Plaintiffs exercised their rights
under 15 U.S.C. § 1692g on April 25, 2019. This letter disputed the debt and
requested verification in general and specifically on the default, the amount owed


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and the breakdown thereof and if the foreclosure sale was not going to be cancelled
(as requested in the letter), then the complete file including the note, mortgage,
complete accounting of the loan, paid invoices, etc. While this request for
verification was outstanding, the law allowed no collection activity by Defendant
Home Point. But Defendant Home Point ignored the clear law and continued to
conduct collection activity.

       For example, on May 16, 2019, the foreclosure was advertised even though
the request for verification had been received by Defendant Home Point back in
April 2019. As threatened by Defendant Home Point in its validation letter, it did
indeed take collection steps before the expiration of the 30-day time period. Even
though Plaintiffs disputed and requested verification on April 25, 2019, which
Defendant Home Point received the next day. The same is true on May 23, 2019 –
collection activity without verification. And May 30, 2019. Defendant Home Point
“responded” on June 7, 2019. But this response is woefully inadequate and
deceptive.

Damages

      The Otwells are claiming that they have suffered damages as a result of the
      conduct of Home Point and its employees. The Fair Debt Collection Practices
      Act allows consumers such as the Otwells to be awarded damages for
      violations of the act as follows:

          (1) any actual damage sustained by Otwells as a result of a violation of the
   Act, including out of pocket expenses and mental anguish and emotional distress;

           (2) statutory damages up to but not exceeding $1,000; or

         (3) in the case of any successful action to enforce the foregoing liability,
   the costs of the action, together with a reasonable attorney’s fee as determined by
   the court.

           (d) Defendant’s Position on Its Defenses.

      1.      RESPA violations
                  a. Danna Lee Otwell lacks standing to bring any claims under
                     the Real Estate Settlement Procedures Act (“RESPA”), 12
                     U.S.C. §§ 2601 et seq., because she did not sign the



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              promissory note underlying the subject mortgage. See
              Garrasi v. Selene Fin., LP, 407 F. Supp. 3d 110, 117
              (N.D.N.Y. Sept. 11, 2019) (collecting cases); 12 U.S.C.
              § 2605(f). Under RESPA, only those who are borrowers and
              personally obligated to pay the debt have standing. Id.
           b. The Plaintiffs cannot recover statutory damages under
              RESPA because there is no evidence in this case of any
              pattern or practice of noncompliance of RESPA by Home
              Point, as is required to obtain statutory damages under 12
              U.S.C. § 2605(f)(1)(B).
           c. Claim under 12 C.F.R. § 1024.41: Home Point contends that
              this claim fails for a number of reasons:
                  i. It is expected that evidence may show that any
                     application that was submitted that resulted in the Trial
                     Period Plan and FHA Partial Claim was not the
                     Otwells’ first application. See 12 C.F.R. § 1024.41(i).
                     In their Counterclaims filed in the Ejectment Suit, the
                     Otwells stated that they “made a valid request for loss
                     mitigation on several occasions” and that Stonegate
                     “denied the loss mitigation requests improperly.”
                 ii. Assuming that a complete first loss mitigation
                     application is at issue in this case, Home Point
                     complied with the requirements of 12 C.F.R.
                     § 1024.41. The Otwells contend that Home Point
                     violated 12 C.F.R. § 1024.41(c)(ii). The evidence will
                     show that Home Point did provide notice in writing on
                     August 24, 2018, to Joshua Otwell with its
                     determination that he is being offered a trial
                     modification. This letter contained a due date for
                     acceptance of the offer. Contrary to the Otwells’
                     contention, no information about appeal rights was
                     required in this letter since the loss mitigation
                     application was not denied.
                iii. Any permanent modification offer subsequent to the
                     trial period plan was not subject to any requirements of


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                    12 C.F.R. § 1024.41. The plain language of
                    § 1024.41(c)(ii) refers only to the initial response to the
                    loss mitigation application that must be within 30 days
                    of receipt of the application.
                iv. Home Point contends that 12 C.F.R. § 1024.41 has no
                    application because the loss mitigation application was
                    received after a foreclosure sale that was rescinded as
                    part of the settlement of the Ejectment Suit. The
                    requirements of the regulation only apply if an
                    application is received more than 37 days before a
                    foreclosure sale. See 12 C.F.R. § 1024.41(c)(1).
                 v. Home Point did send final modification documents to
                    the Otwells on December 14, 2018. The evidence is
                    expected to show that Joshua Otwell was notified, in a
                    cover letter and by telephone, that the documents
                    needed to be executed and returned by December 29,
                    2018. Further, the evidence is expected to show that
                    The Otwells did not sign the documents on time. The
                    evidence is also expected to show that on January 3,
                    2019, Home Point called Joshua Otwell to advise that
                    he did not return the documents on time, and told Home
                    Point that his attorney was reviewing the documents
                    before signing. On February 19, 2019, Home Point sent
                    a letter to Joshua Otwell advising that he did not qualify
                    for a modification due to his failure to return the signed
                    modification documents. This letter also advised
                    Joshua Otwell of his right to appeal, but he never did
                    so and never contacted Home Point regarding the final
                    modification documents.
                vi. The Otwells possess no admissible evidence to prove
                    that they reached out to Home Point for an explanation
                    of the loan modification they were provided. The
                    Otwells’ attorneys cannot testify in the case and
                    provide the testimony necessary to remove conditions
                    of hearsay from emails they claim were exchanged


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                      with Home Point’s attorneys. Moreover, the attorneys
                      that represented Home Point in the eviction case
                      against the Otwells are clearly not the correct points of
                      contact for explanation of the nuances of the FHA
                      Partial Claim offered by Home Point after the eviction
                      case was settled and dismissed.
               vii.   The Otwells have not incurred any damages
                      recoverable under RESPA, and if they did they were
                      exclusively caused by their own failure to return the
                      loan modification provided. See McLean v. GMAC
                      Mortg. Corp., 595 F. Supp. 2d 1360, 1365 (S.D. Fla.
                      2009) (borrower has burden of proof on damages and
                      can only recover damages proximately caused by
                      RESPA violation).
              viii.   Even if Home Point did not include a letter with the
                      final modification documents that indicated a due date
                      or instructions of what to do with the documents, the
                      evidence is expected to show that Home Point called
                      Mr. Otwell to explain the documents and provide a
                      deadline to returning them. As such, the lack of any
                      such letter with instructions or a due date is not the
                      proximate cause of any of the Otwells’ claimed
                      damages.
                ix.   Home Point did not fail to fairly evaluate the loss
                      mitigation application. They were provided the exact
                      form of loan modification called out by the trial period
                      plan that Joshua Otwell signed.
                x.    Home Point did not fail to disclose the real reason the
                      Otwells were denied mitigation, as they were not
                      denied mitigation. They were provided the exact form
                      of loan modification called out by the trial period plan
                      that Joshua Otwell signed.




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2.   FDCPA violations

           a. All claims under the FDCPA fail because Home Point is the
              owner and holder of the Loan, Note, and Mortgage, and thus
              has been seeking to collect debt owed to itself. Therefore, it
              is a creditor and not subject to the Fair Debt Collection
              Practices Act (“FDCPA”). See Henson v. Santander
              Consumer USA Inc., 137 S. Ct. 1718, 1721-22 (2017);
              Davidson v. Capital One Bank (USA), N.A., 797 F.3d 1309,
              1313 (11th Cir. 2015). To the extent that Home Point’s status
              as a creditor does not negate it from also being a debt
              collector, the Otwells do not have evidence showing that
              Home Point qualifies as a debt collector under the FDCPA.
              Additionally, Home Point cannot be held vicariously liable
              for any actions taken by Rubin Lublin, LLC, as is alleged in
              the Amended Complaint, because Home Point itself is not a
              debt collector, but a creditor. See Agrelo v. Affinity Mgmt.
              Servs., LLC, 841 F.3d 944, 953 (11th Cir. 2016) (citing
              Wadlington v. Credit Acceptance Corp., 76 F.3d 103, 108
              (6th Cir. 1996); Bent v. Smith, Dean & Assocs., Inc., No. 3:11-
              cv-66-J-TEM, 2011 WL 2746847, at *3 (M.D. Fla. July 14,
              2011)).
           b. Any FDCPA claims premised on the allegation that a notice
              of acceleration was not sent fail because Rubin Lublin, LLC,
              on behalf of Home Point, sent a letter to each Plaintiff on or
              around April 15, 2019, titled “Notice of Acceleration and
              Foreclosure”, which stated, in part, that “[t]he indebtedness
              secured by said Mortgage has been and is hereby declared due
              because of default under the terms of said Mortgage and
              Note.” Additionally, any FDCPA claims premised on the
              allegation that the notice of default was somehow deficient
              fail because the Mortgage does not require any notice of
              default to be sent.
           c. Claim under 15 U.S.C. § 1692c(a)(2): No evidence has been
              presented thus far to support the assertion that Home Point


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              was notified in March 2019 that the Otwells were represented
              with respect to this particular debt. The evidence is expected
              to also show that Home Point has no record of ever being
              advised in March 2019 that the Otwells were represented by
              counsel. Additionally, the evidence will show that Rubin
              Lublin, LLC sent a letter to the Otwells in April 15, 2019, that
              included a statement that “[w]e do not believe that you are
              represented by counsel. If you are represented by counsel,
              please notify us immediately and provide the name and
              address of your lawyer so that we may direct communications
              to them. If we do not hear from you we will assume that you
              are not represented by counsel.” The Otwells responded to
              this letter, but did not state that they were represented by
              counsel.
           d. Claim under 15 U.S.C. § 1692d: This claim fails because
              Home Point did not threaten foreclosure without a right to do
              so. The Loan and Mortgage were undisputedly in default, a
              default notice was sent (although not required by the terms of
              the Mortgage), and a notice of foreclosure was sent and
              published. Additionally, contrary to the Otwells’ contention,
              foreclosure was not threatened while they were paying on the
              trial period plan. The trial period plan was for three months
              only, until December 2018, and the notice of default was not
              sent until February 2019. To the extent that this claim is based
              on the FHA Partial Claim documents, the claim fails for two
              reasons. First, these documents did not demand the payment
              of any debt as required for a communication to be “in
              connection with the collection of any debt.” See Hunstein v.
              Preferred Collection and Mgmt. Servs., Inc., 994 F.3d 1341,
              1349 (11th Cir. 2021) (citing Reese v. Ellis, Painter, Ratterree
              & Adams, LLP, 678 F.3d 1211, 1217 (11th Cir. 2012);
              Caceres v. McCalla Raymer, 755 F.3d 1299, 1301-03 (11th
              Cir. 2014). Second, the FHA Partial Claim documents in no
              way can be construed as having “the natural consequence . . .
              to harass, oppress, or abuse any person in connection with the


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              collection of a debt.” 15 U.S.C. § 1692d. “Although the
              question of ‘whether conduct harasses, oppresses, or abuses
              will [ordinarily] be a question for the jury . . . Congress has
              indicated its desire for courts to structure the confines of
              § 1692d. Harvey v. Great Seneca Fin. Corp., 453 F.3d 324,
              330 (6th Cir. 2006) (citing Jeter v. Credit Bureau, 760 F.2d
              1168, 1179 (11th Cir. 1985)). And courts have dismissed
              § 1692d claims as a matter of law if the facts alleged do not
              have the natural consequence of harassing or abusing a
              debtor. See, e.g., Jeter, 760 F.2d at 1179.” Wood v. Midland
              Funding, LLC, 698 F. App’x 260, 265 (6th Cir. 2017).
           e. Claim under 15 U.S.C. § 1692d(3): This claim fails because
              the lawful publication of a foreclosure notice under state law
              is not the type of conduct that is prohibited by this section of
              the FDCPA. “Although the question of ‘whether conduct
              harasses, oppresses, or abuses will [ordinarily] be a question
              for the jury . . . Congress has indicated its desire for courts to
              structure the confines of § 1692d. Harvey v. Great Seneca
              Fin. Corp., 453 F.3d 324, 330 (6th Cir. 2006) (citing Jeter v.
              Credit Bureau, 760 F.2d 1168, 1179 (11th Cir. 1985)). And
              courts have dismissed § 1692d claims as a matter of law if the
              facts alleged do not have the natural consequence of harassing
              or abusing a debtor. See, e.g., Jeter, 760 F.2d at 1179.” Wood
              v. Midland Funding, LLC, 698 F. App’x 260, 265 (6th Cir.
              2017). In Wood, the Court noted that “we have never
              sanctioned as actionable compliance with a court order to
              obtain service.” In the same vein, compliance with the terms
              of the Mortgage and state law to foreclose cannot be the type
              of conduct that is prohibited by § 1692d.
           f. Claim under 15 U.S.C. § 1692e: The Plaintiffs assert that
              this claim is based on Home Point threatening to foreclose
              when it had no intention of doing so and also failed to send
              the proper notices. The evidence will show that Home Point
              fully intended to complete the foreclosure sale and that all
              notices were properly sent. The Mortgage does not require


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              any notice of default or notice of acceleration to be sent,
              although both were sent in this case. To the extent that this
              claim is based on any alleged deceptive or misleading
              representations, this Court is required to “employ the ‘least-
              sophisticated consumer’ standard to evaluate whether a debt
              collector’s communication violates § 1692e of the FDCPA.”
              LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1193 (11th
              Cir. 2010). Under this standard, Home Point contends that the
              least sophisticated consumer would not be deceived or misled
              by any of the communications at issue in this claim. Lastly,
              to the extent that this claim is based on April 15 and June 7
              letters sent by Rubin Lublin, LLC, Home Point cannot be held
              vicariously liable for the actions of Rubin Lublin, LLC.
           g. Claim under 15 U.S.C. § 1692e(2): The letters at issue, sent
              on February 19 and February 21, 2019, are not inconsistent
              with each other, and the payment history shows that there
              were certain payment applications that took place on
              February 20, 2019.
           h. Claim under 15 U.S.C. § 1692e(4): This claim fails because
              Home Point fully intended to follow through with the
              foreclosure sale and sent all proper notices to legally do so.
              The Otwells claim that Home Point “failed to send the proper
              default letters and was thus not authorized under law or the
              mortgage to accelerate the loan.” However, not only was a
              default notice sent, but the Mortgage does not require any
              such notice.
           i. Claim under 15 U.S.C. § 1692e(5): This claim fails because
              Home Point fully intended to follow through with the
              foreclosure sale and sent all proper notices to legally do so.
              The Otwells claim that Home Point “failed to send the proper
              default letters and was thus not authorized under law or the
              mortgage to accelerate the loan.” However, not only was a
              default notice sent, but the Mortgage does not require any
              such notice.




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           j. Claim under 15 U.S.C. § 1692e(8): This claim fails because
              the Otwells never “disputed” the debt. The letter sent by the
              Otwells on April 25, 2019, to Rubin Lublin, LLC, merely said
              that they were confused and “believe an error has been made”
              but never directly disputed the debt. Additionally, it is
              believed that the Otwells cannot claim any actual damages as
              a result of the alleged violation of § 1692e(8), as simply
              marking “disputed” on a credit report would likely have no
              impact whatsoever.
           k. Claim under 15 U.S.C. § 1692e(10): There are no
              allegations set forth by the Plaintiffs that Home Point
              attempted to “obtain information concerning a consumer”, let
              alone by “the use of any false representation or deceptive
              means to collect or attempt to collect any debt . . . .” Home
              Point asserts that there is no evidence known to it or otherwise
              produced in this litigation that shows any attempts to obtain
              information about the Plaintiffs.
           l. Claim under 15 U.S.C. § 1692f(6): This claim fails because
              Home Point had the legal right—as holder the Note and
              Mortgage—to foreclose the Mortgage, and all proper notices
              were sent. The Plaintiffs contend that “Home Point failed to
              send a proper default letter” and no acceleration letter was
              sent, but the Mortgage does not require either notice, and
              moreover, both notices were sent anyway.
           m. Claim under 15 U.S.C. § 1692g: This claim fails first and
              foremost because it is based upon letters sent by Rubin
              Lublin, LLC. As noted above, Home Point cannot be
              vicariously liable for any actions of Rubin Lublin, LLC. The
              claim further fails because the response to the validation letter
              fully complied with § 1692g, as it contained a copy of the
              payment history. See Haddad v. Alexander, Zelmanski,
              Danner & Fioritto, PLLC, 758 F.3d 777, 785 (6th Cir. 2014)
              (“[T]he cases reflect that an itemized accounting detailing the
              transactions in an account that have led to the debt is often the
              best means of accomplishing [verification of the debt].”).


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                       Additionally, any statements that the FDCPA may apply, not
                       that it does apply, is not a violation of § 1692g, especially as
                       there is no proof that Rubin Lublin, LLC is a debt collector.
                       It also does not overshadow the consumer’s right to request
                       validation of the debt, as the least-sophisticated consumer
                       would not be deceived or misled when the clear and
                       unequivocal language in the letter provides that the consumer
                       may request validation of the debt, without any qualifications.
                       In fact, the Otwells did send in a letter to request validation,
                       so they cannot claim to have been damaged by any alleged
                       overshadowing. Additionally, Home Point contends that
                       continuing to publish foreclosure notices is not “collection
                       activity” within the meaning of § 1692g(a). The foreclosure
                       advertisements relate solely to the enforcement of a security
                       instrument and do not, in any way, demand money or seek to
                       collect money.

     6.      Discovery and Other Pretrial Procedures.

          (a) Pretrial Discovery.

            i.   ______x_______         Pursuant to previously entered orders of the
                 court, discovery is closed.

           ii.   _____________         The parties are given leave to proceed with
                 further discovery provided it is commenced in time to be
                 completed by


          (b) Pending Motions.

             None.

          (c) Motions In Limine. Motions in limine must be filed on or before July

19, 2021 and shall be accompanied by supporting memoranda. As to each matter




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counsel seeks to exclude, counsel shall indicate whether the exclusion is “opposed”

or “unopposed” by counsel for the other side. Parties are encouraged to resolve

evidentiary issues by stipulation whenever possible. Responses in opposition to the

motions in limine must be filed on or before July 29, 2021.

       The parties must provide the court with a courtesy copy of each motion in

limine and each response to a motion in limine, including corresponding exhibits.

Each page must be three-hole punched and securely bound in a three-ring binder or

a large clip, with tabs separating each exhibit. Courtesy copies should reflect the

CM/ECF case number, document number, date, and page stamp on each page.

       7. Trial Date.

            (a) This case is set for Jury trial on August 23, 2021. This case will be ready

for trial on or after August 23, 2021.

            (b) The trial of this matter is expected to last 3 to 4 days.

       8.      The parties are to comply fully with each provision contained in Exhibit

A – Standard Pretrial Procedures which is incorporated into this order by reference

as if fully set forth herein.

       9.      The parties are to read and comply fully with each provision contained

in Exhibit B – Guidelines for Conduct of Trials, which is incorporated into this order

by reference as if fully set forth herein.




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     The court ORDERS that the above provisions be binding on all parties unless

modified for good cause shown.

     DONE and ORDERED this June 25, 2021.



                                 _________________________________
                                 ANNEMARIE CARNEY AXON
                                 UNITED STATES DISTRICT JUDGE




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